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                                         UNITED STATES COURT OF APPEALS
                                              FOR THE SIXTH CIRCUIT

                                            Appearance of Counsel
            23-3641
Appeal No.: ___________________________________

            Energy Transfer, LP                     EPA, et al.
Case Title: _____________________________________vs.______________________________________



List all clients you represent in this appeal:
Appalachian Mountain Club and Sierra Club




         ‫ ܆‬Appellant             ‫ ܆‬Petitioner             ‫ ܆‬Amicus Curiae               ‫܆‬Criminal Justice Act
         ‫ ܆‬Appellee              ‫ ܆‬Respondent             ✔ Intervenor
                                                          ‫܆‬                                   (Appointed)

✔ Check if a party is represented by more than one attorney.
‫܆‬
‫ ܆‬Check if you are lead counsel.

If you are substituting for another counsel, include that attorney’s name here:



By filing this form, I certify my admission and/or eligibility to file in this court.

               Neil Gormley
Attorney Name: ________________________________               Neil Gormley
                                                Signature: s/_______________________________

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  served with this document as of the date of filing.


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